     Case 4:23-cv-01039-P Document 2 Filed 10/12/23                          Page 1 of 2 PageID 19



                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS



America First Policy Institute
Plaintiff
v.                                                               4:23-cv-01039
                                                                 Civil Action No.
U.S. Department of Homeland Security
Defendant

       CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT
                                 (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,

the America First Policy Institute



provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

None




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

 the America First Policy Institute
                 Case 4:23-cv-01039-P Document 2 Filed 10/12/23                       Page 2 of 2 PageID 20



                                                              Date:                 October 12, 2023
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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil => Other
Documents => Certificate of Interested Persons/Disclosure Statement.
